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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

 MARVIN GABRION,                                )
                                                )
        Plaintiff,                              )
                                                )
                v.                              )      Cause No. 2:15-cv-00024-WTL-WGH
                                                )
 UNITED STATES DEPARTMENT OF                    )
 JUSTICE and UNITED STATES                      )
 BUREAU OF PRISONS,                             )
                                                )
        Defendants.                             )

             JOINT STIPULATION OF REMAINING MATERIALS AT ISSUE

        Pursuant to this Court’s October 23, 2015, Order (Docket No. 32), the parties, Plaintiff

 Marvin Gabrion and Defendants, the United States Department of Justice and the Bureau of

 Prisons, by counsel, stipulate that the only materials that remain at issue in this action under the

 Freedom of Information Act are the materials included in groups one through twenty-one,

 including all subgroups, in the attached Vaughn Index, revised on October 15, 2015.

                                                       Respectfully submitted,

                                                       JOSH J. MINKLER
                                                       United States Attorney

                                                By:    s/ Gina M. Shields
                                                       Gina M. Shields
                                                       Assistant United States Attorney
                                                       Counsel for Defendants

                                                       s/ Scott Graham (with permission)
                                                       Scott Graham
                                                       Scott Graham PLLC

                                                       s/ Joseph M. Cleary (with permission)
                                                       Joseph M. Cleary
                                                       Indiana Federal Community Defenders
                                                       Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2015, a copy of the foregoing Joint Stipulation of

 Remaining Documents at Issue was filed electronically. Service of this filing will be made on all

 ECF-registered counsel by operation of the Court’s electronic filing system. Parties may access

 this filing through the Court’s system.

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                                             s/ Gina M. Shields
                                             Gina M. Shields
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